     Case 1:20-cv-00007-LGS-KHP Document 216-1 Filed 11/20/20 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,
                Plaintiff,                           Civil Action No. 1:20-CV-00007-LGS
     v.

 STEVE M. BAJIC,
 RAJESH TANEJA,
 NORFOLK HEIGHTS LTD.,
 FOUNTAIN DRIVE LTD.,
 ISLAND FORTUNE GLOBAL LTD.,
 CRYSTALMOUNT LTD.,
 WISDOM CHAIN LTD.,
 SSID LTD.,
 SURE MIGHTY LTD.,
 TAMARIND INVESTMENTS INC.,
 KENNETH CIAPALA,
 ANTHONY KILLARNEY,
 BLACKLIGHT SA,
 CHRISTOPHER LEE MCKNIGHT, and
 AARON DALE WISE,

                        Defendants.

         JUDGMENT AS TO DEFENDANT CHRISTOPHER LEE MCKNIGHT

       The Securities and Exchange Commission having filed a Complaint and Defendant

Christopher Lee McKnight (“Defendant” or “McKnight”) having entered a general appearance;

consented to the Court’s jurisdiction over Defendant and the subject matter of this action;

consented to entry of this Judgment without admitting or denying the allegations of the

Complaint (except as to jurisdiction and except as otherwise provided herein in paragraph VI);

waived findings of fact and conclusions of law; and waived any right to appeal from this

Judgment:




                                                 1
     Case 1:20-cv-00007-LGS-KHP Document 216-1 Filed 11/20/20 Page 2 of 5




                                                 I.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating and aiding and abetting violations, directly

or indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15

U.S.C. § 78j(b)] and Rule 10b-5(a) and (c) promulgated thereunder [17 C.F.R. § 240.10b-5(a),

(c)], by using any means or instrumentality of interstate commerce, or of the mails, or of any

facility of any national securities exchange, in connection with the purchase or sale of any

security:

        (a)    to employ any device, scheme, or artifice to defraud; or

        (b)    to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating and aiding and abetting violations of

Section 17(a)(1) and (3) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. §

77q(a)(1), (3)] in the offer or sale of any security by the use of any means or instruments of

transportation or communication in interstate commerce or by use of the mails, directly or

indirectly:


                                                 2
     Case 1:20-cv-00007-LGS-KHP Document 216-1 Filed 11/20/20 Page 3 of 5




       (a)     to employ any device, scheme, or artifice to defraud; or

       (b)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                 III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating and aiding and abetting violations of

Section 5(a) and (c) of the Securities Act [15 U.S.C. § 77e(a), (c)] by, directly or indirectly, in

the absence of any applicable exemption:

       (a)     Unless a registration statement is in effect as to a security, making use of any

               means or instruments of transportation or communication in interstate commerce

               or of the mails to sell such security through the use or medium of any prospectus

               or otherwise; or

       (b)     Making use of any means or instruments of transportation or communication in

               interstate commerce or of the mails to offer to sell or offer to buy through the use

               or medium of any prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the

               registration statement is the subject of a refusal order or stop order or (prior to the

               effective date of the registration statement) any public proceeding or examination


                                                  3
     Case 1:20-cv-00007-LGS-KHP Document 216-1 Filed 11/20/20 Page 4 of 5




               under Section 8 of the Securities Act [15 U.S.C. § 77h].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

shall pay disgorgement of ill-gotten gains and prejudgment interest thereon; that the amounts of

the disgorgement and any civil penalty shall be determined by the Court upon motion of the

Commission; and that prejudgment interest shall be calculated based on the rate of interest used

by the Internal Revenue Service for the underpayment of federal income tax as set forth in 26

U.S.C. §6621(a)(2). Upon motion of the Commission, the Court shall determine whether a civil

penalty pursuant to Section 20(d) of the Securities Act [15 U.S.C. §77t(d)] and Section 21(d)(3)

of the Exchange Act [15 U.S.C. §78u(d)(3)] is appropriate and, if so, the amount of the penalty.

In connection with the Commission’s motion for disgorgement and/or civil penalties, and at any

hearing held on such a motion: (a) Defendant will be precluded from arguing that he did not

violate the federal securities laws as alleged in the Complaint; (b) Defendant may not challenge

the validity of the Consent or this Judgment; (c) solely for the purposes of such motion, the

allegations of the Complaint shall be accepted as and deemed true by the Court; and (d) the

Court may determine the issues raised in the motion on the basis of affidavits, declarations,

excerpts of sworn deposition or investigative testimony, and documentary evidence, without

regard to the standards for summary judgment contained in Rule 56(c) of the Federal Rules of


                                                 4
     Case 1:20-cv-00007-LGS-KHP Document 216-1 Filed 11/20/20 Page 5 of 5




Civil Procedure. In connection with the Commission’s motion for disgorgement and/or civil

penalties, the parties may take discovery, including discovery from appropriate non-parties.

                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.

                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under any

other judgment, order, consent order, decree or settlement agreement entered in connection with

this proceeding, is a debt for the violation by Defendant of the federal securities laws or any

regulation or order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy

Code, 11 U.S.C. §523(a)(19).

                                                VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.

                                               VIII.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.

 Dated: November 23, 2020
        New York, New York




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